Minute Order Form (66/97)

 

 

 

 

 

\X United States District Court, Northern District of Mlinois
mo if
Name of Assigned Judge Paul E. Plunkett Sitting Judge if Other
or Magistrate Judge than Assigned Judge
CASE NUMBER 00 C 2463 DATE 6/28/2000
CASE VOLTAIRE THEATRE vs. TANGO GRILL, INC.
TITLE

 

 

[In the following box (a) indicate the party filing the motion, e.g., plaintiff, defendant, 3rd party plaintiff, and (b) state briefly the
nature of the motion being presented.]

 

 

 

 

 

 

 

MOTION:

DOCKET ENTRY:

qd) O Filed motion of [ use listing in “Motion” box above.]

(2) Oo Brief in support of motion due

(3) O Answer brief to motion due___—__. Reply to answer brief due

{4) O Ruling/Hearing on set for at

(5) a Status hearing held.

(6) QO Pretrial conferencefheld/continued to] [set for/re-set for] on set for at
(7) O Trial[set for/re-set for]on_ att

(8) O [Bench/Jury trial] [Hearing] held/continued to_—_att

(9) O This case is dismissed [with/without] prejudice and without costs[by/agreement/pursuant to]

OOFRCP4(m) O General Rule2! OFRCP41(a)(1) OFRCP41(a)(2).

(0) =< [Other docket entry] Plaintiff’s oral motion to voluntarily dismiss, without prejudice, pursuant to
Rule 4l(a)(1) of the Fed.R.Civ.P., Granted and So Ordered.

 

(1) oo {For further detail see order (on reverse side offattached to) the original minute order.]

 

No notices required, advised in open court.

 

   
 

No notices required. .
number of notices

UN 2 9 2000

date docketed
HW initials

date mailed notice

 

Notices mailed by judge’s staff.

 

Notified counsel by telephone.

   
  

 

# | Docketing to mail notices,

 

Mail AO 450 form.

 

  

Copy to judge/magistrate judge.

 

 

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courtroom
TBK deputy’s
initials

 

Date/time received in
central Clerk’s Office

 

 

 

 

 

  

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